                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )      No. 3:14-CR-002
                                                  )
 JOHN A. AYERS                                    )

                            MEMORANDUM AND ORDER

               The defendant pled guilty to conspiring to distribute methamphetamine. He

 will be sentenced on February 17, 2015. The United States Probation Office has prepared

 and disclosed a Presentence Investigation Report (“PSR”) to which the defendant has

 filed two objections. The second of those objections is biographical in nature and has

 been resolved in the defendant’s favor. For the reasons that follow, the defendant’s first

 objection will be overruled.

               At paragraph 64 of the PSR, the defendant is assigned three criminal

 history points for a January 21, 2014 sentence imposed by the Criminal Court of

 Claiborne County, Tennessee. There, the defendant pled guilty to felony evading arrest.

               The defendant argues that he should not receive criminal history points for

 that conviction. He offers two theories. First, he argues that the conviction occurred one

 week after the end of the instant federal conspiracy and therefore cannot be considered

 criminal “history” because it happened after his federal crime.

               Paragraph 64 assigns three criminal history points for a “prior sentence of

 imprisonment.” See U.S. Sentencing Guidelines Manual § 4A1.1(a) (2014). “The term




Case 3:14-cr-00002-KAC-DCP        Document 897        Filed 01/26/15   Page 1 of 3   PageID
                                        #: 3612
 ‘prior sentence’ means any sentence previously imposed . . . for conduct not part of the

 instant offense.” Id. § 4A1.2(a)(1). “‘Prior sentence’ means a sentence imposed prior to

 sentencing on the instant offense, other than a sentence for conduct that is part of the

 instant offense.” Id. § 4A1.2 cmt. n. 1. The defendant’s felony evading arrest sentence

 was imposed prior to the upcoming February 2015 sentencing in this federal case. As

 such, it is properly deemed a “prior sentence” and is properly included in the criminal

 history calculation.   Again, “‘[p]rior sentence’ means a sentence imposed prior to

 sentencing on the instant offense . . . .” Id.; accord United States v. Tilford, 85 F. App’x

 516, 520 (6th Cir. 2004).

               Next, the defendant argues that assignment of three criminal history points

 for his felony evading arrest conviction violates “the implicit guarantee of equal

 protection of the law contained in the Fifth Amendment.” It is the defendant’s position

 that his Claiborne County sentence would not have been imposed but for the fact that he

 was being held at that time as a federal pretrial detainee in that same county. The

 defendant’s equal protection argument is undeveloped and is deemed forfeited. “It is not

 sufficient for a party to mention a possible argument in the most skeletal way, leaving the

 court to ... put flesh on its bones.” United States v. Cole, 359 F.3d 420, 428 n.13 (6th Cir.

 2004) (citation omitted). In any event, the defendant was already in Claiborne County

 custody prior to the issuance of the indictment in this case. [Doc. 8].

               For the reasons provided herein, the defendant’s remaining objection to his

 PSR is OVERRULED. Sentencing remains set for February 17, 2015, at 1:30 p.m. in

 Knoxville.

                                              2

Case 3:14-cr-00002-KAC-DCP         Document 897      Filed 01/26/15        Page 2 of 3   PageID
                                         #: 3613
            IT IS SO ORDERED.

                                                ENTER:



                                                        s/ Leon Jordan
                                                  United States District Judge




                                      3

Case 3:14-cr-00002-KAC-DCP   Document 897    Filed 01/26/15   Page 3 of 3    PageID
                                   #: 3614
